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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                            Plaintiff,        :
                                                              :   22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :        ORDER
 SAULREALISM LLC, et al.,                                     :
                                            Defendants. :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS, by Order dated August 16, 2022 (Dkt. No. 75), Plaintiff was directed to

show cause at an evidentiary hearing on September 20, 2022, at 2:00 p.m., as to why the Court

should not impose sanctions up to and including dismissal of this action and a referral to the

United States Attorney’s Office for the Southern District of New York for perjury and false

statements made to this Court.

          WHEREAS, on August 19, 2022, Defendants filed a letter requesting a pre-motion

conference to discuss outstanding discovery that is needed to prepare for the evidentiary hearing

(Dkt. No. 79). It is hereby

          ORDERED that by August 26, 2022, Plaintiff shall produce to Defendants the requested

emails involving David Delorge from January 14, 2022, through the present. If Plaintiff is not

able to collect such communications from custodians at Network Data Rooms, LLC, by August

26, 2022, Plaintiff shall file a letter explaining why the requested communications cannot be

collected and/or produced and describing the company’s retention policies and practices. It is

further
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       ORDERED that, to the extent the parties require any additional discovery to prepare for

the evidentiary hearing, they shall meet and confer in an effort to coordinate the production, and

raise any disputes by filing a joint letter with the Court no later than August 30, 2022.

Dated: August 22, 2022
       New York, New York




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